





















Opinion issued November 18, 2010

&nbsp;



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00827-CR

———————————

JAMES
DEANDA, Appellant

V.

The State of
Texas, Appellee



&nbsp;



&nbsp;

On
Appeal from the 185th District Court

Harris
County, Texas



Trial
Court Case No. 1261465

&nbsp;



MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We lack jurisdiction to hear this
appeal.&nbsp; Appellant, James Deanda, pleaded
guilty to the offense of felon in possession of a weapon, and in accordance
with his plea agreement with the State, the trial court sentenced appellant to
confinement for 2 years.&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; After the trial court sentenced
appellant to punishment that fell within the terms of the plea bargain
agreement, the trial court certified that this case is a plea-bargain case and
the defendant has no right to appeal.&nbsp;
Appellant did not appeal any pre-trial matters, and the trial court did
not give permission for appellant to appeal.&nbsp;
Appellant filed a timely pro se notice of appeal.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;We conclude that the trial court’s certification
that appellant has no right of appeal, as shown on the form entitled “Trial
Court’s Certification of Defendant’s Right of Appeal,” is supported by the
record that shows he entered into an agreed plea bargain with the State.&nbsp; Tex.
R. App. P. 25.2(a)(2).&nbsp; Because
appellant has no right of appeal, we must dismiss this appeal “without further
action.”&nbsp; Chavez v. State, 183 S.W.3d 675, 680 (Tex. Crim. App. 2006).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly,
the appeal is dismissed for lack of jurisdiction.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
deny any pending motions as moot. 

PER CURIAM

Panel consists of Justices Keyes, Higley, and Bland.

Do not publish.&nbsp;
&nbsp;Tex. R. App. P. 47.2(b).





